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                       FREE RETURNS                                                                           APP ONLY SCORE 15% OFF                          EXTRA 15% OFF
                     •conditions apply                               SHIPPING INFO                                                                            your fi rs t order
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                    10%m                                       15%1D                                      20% m                                             CODE FALLFUN
                    ON ORDERS OF $29+                           ON ORDERS OF $69+                         ON ORDERS OF $169+




                                                                                     Shop by Category                                                                              V IEW A LL




                       Dresses                               Tops                            Tees                                      Blou ses

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                       T w o-pieces
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                                                                                     Deals of the day


       FLASH SALE                                                                                                               Ends in             IJ[l:fJEJ:fJg >




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  WOMEN      PLUS    HOME         KIDS      MEN    BEAUTY
                                                                            SHEIN                     Free Standard Shipping on orders
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     NEWIN     FW22        SALE          SHEIN X DESIGNERS   CLOTHING        DRESSES     TOPS       LINGERIE & LOUNGE                       Dress



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                                                                                             #dailydrops




       Batwing Sleeve Open Front Cardigan         Color Block Drop Shoulder Cardigan       Color Block Stripe Pattern Sweater Vest   Cable Knit Drop Shoulder Crop Sweater   Pointelle Knit Lantern Sleeve
       US$28.00                                   US$21 .00                                US$14.00                                  US$22.00                                US$23.00




                                                                                          Trending Brands




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  WOMEN      PLUS      HOME        KIDS     MEN      BEA UTY
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